                Case: 2:15-cr-00240-EAS Doc #: 179 Filed: 08/19/16 Page: 1 of 6 PAGEID #: 531
AO 245B(Rev. 02/16) Judgmentin a CriminalCase
                    Sheet 1



                                        United States District Court


             UNITED STATES OF AMERICA                                       JUDGMENT IN A CRIMINAL CASE
                                 V.

                     PERRIER D. COLEMAN                                     Case Number: 2:15-CR-240(7)

                                                                            USM Number: 74100-061

                                                                              DAVID GRAEFF
                                                                             Defendant's Attorney
THE DEFENDANT:
B pleadedguil^ to count(s)            One of the Indictment

• pleaded nolo contendere to count(s)
   which was accepted by the court.
• was found guilty on count(s)
   after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                  Nature of Offense                                                   Offense Ended                        Count
                                                                                                                        '' •'••••••'"•I           ri ";••• •' •
       "'iC.§84.6;AND
 18 §§ 841(a)(1) AND              DISTRIBUTE HEROIN




       The defendant is sentenced as provided in pages 2 through                    of this Judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
• The defendant has been found not guiltyon count(s)
• Count(s)                                            •   is   Dare dismissed on the motion ofthe United States.

        Itisordered that the defendant must notify theUnited States attorney forthis district within 30days ofany chaime ofname, residence,
ormailing address until allfines, restitution, costs, andspecial assessments imposed bythisjudgment arefully paid. Ifordered topayrestitution,
the defendant must notify the court and United States attorney of material changes in economic circumstances.
                                                                     8/18/2016
                                                                    Date oflmposition of Judgment




                                                                    Signature ofJudga




                                                                     EDMUND A. SARGUS, JR.. CHIEF JUDGE
                                                                    Name and Title ofJudge



                                                                     Date
                 Case: 2:15-cr-00240-EAS Doc #: 179 Filed: 08/19/16 Page: 2 of 6 PAGEID #: 532
AO 245B (Rev.02/16) Judgment in CriminBl Case
                       Sheet 2 — Imprisonment
                                                                                                       Judgment — Page       of

DEFENDANT: PERRIER D. COLEMAN
CASE NUMBER: 2:15-CR-240(7)

                                                               IMPRISONMENT

           The defendant ishereby committed to the custody of the Federal Bureau ofPrisons to be imprisoned fora total
term of:

  FIFTEEN (15) MONTHS to Include time served (8 montfis and 18 days)



    •      The court makesthe following recommendations to the Biueau of Prisons:




    •      The defendantis remanded to the custody of the United States Marshal.

    •      The defendant shall surrender to the United States Marshal for this district:
           •   at                                 •     a.m.    •    p.m.       on
           •   as notified by the United States Marshal.

    •      The defendantshall surrender for service of sentence at the institution designated by the Bureau of Prisons:
           •   before 2 p.m. on                                             .
           •   as notified by the United States Marshal.

           •   as notifiedby the Probation or Pretrial ServicesOffice.


                                                                    RETURN

I have executed this judgment as follows:




           Defendant delivered on                                                          to


                                                      , with a certified copy of this judgment.


                                                                                                     UNITED STATES MARSHAL



                                                                            By
                                                                                                  DEPUTY UNITED STATES MARSHAL
                    Case: 2:15-cr-00240-EAS Doc #: 179 Filed: 08/19/16 Page: 3 of 6 PAGEID #: 533

AO 24SB (Rev. 02/16)Judgment in a Criminal Case
                     Sheet 3 — SupervisedRciease
                                                                                                            Judgment—Page            of

 DEFENDANT: PERRIER D. COLEMAN
CASE NUMBER: 2:15-CR-240(7)
                                                            SUPERVISED RELEASE

 Upon lolease from imprisonment, the defendant shall be on supervised release for a term of:
 THREE (3) YEARS.

              The defendant must report to the probation office in the district to which the defendant is released within 72 hours ofrelease from the
 custody of the Bureauof Prisons.
 The defendant shall not commit another federal, state or local crime.
 The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use ofa controlled
 substance. Thedefendant shall submit to onedrug testwithin 15days of release from imprisonment andat least twoperiodic drugtests
 thereafter, as determined by the court.
 •         The above drug testing condition issuspended, based on the court's determination that the defendant poses a low risk of
           future substance abuse. (Check, ifapplicable.)

 0         The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, tfapplicable.)
 0         The defendant shall cooperate inthe collection ofDNA asdirected bythe probation officer. (Check tfapplicable.)
 n         The defendant shall comply with the requirements ofthe Sex Offender Registration and Notification Act (42 U.S.C. § 16901, elseq.)
           asdirected by the probation officer, the Bureau ofPrisons, orany state sex offender registration agency in which he orshe resides,
           woriu, isa studentor was convicted of a qualifying offense. (Check ifapplicable.)
 •         Thedefendant shall participate in an approved program fordomestic violence. (Check ifapplicable.)
               Ifthis judgment imposes a fine orrestitution, itis acondition ofsupervised release that the defendant pay in accordance with the
 Scheduleof Payments sheet of thisJudgment.
               The defendant must comply with the standard conditions that have been adopted by this court aswell aswith any additional conditions
 on the attached page.

                                            STANDARD CONDITIONS OF SUPERVISION
     1) the defendant shall not leave the Judicial district without the permission of the court orprobation officer;
     2) the defendant shall report tothe probation officer in a manner and frequency directed by the court orprobation officer;
     3) the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions ofthe probation officer;
     4)      the defendant shallsupport his or her dependents and meetotherfamily responsibilities;
     5) the defendant shall work regularly at a lawful occupation, unless excused bythe probation officer for schooling, training, or other
             acceptable reasons;
     6) thedefendant shall notify the probation officer at least ten days prior to any change in residence oremployment;
     7) the defendant shall refrain from excessive use ofalcohol and shall not purchase, possess, use, distribute, oradminister any
        controlled substance or anyparaphernalia related to anycontrolled substances, except as prescribed by a physician;
     8) the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
     9) the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted ofa
             felony, unless granted permission todosobythe probation officer;
     10)     the defendant shall pennit aprobation officer tovisit him orher atany time athome orelsewhere and shall permit confiscation ofany
             contraband observed inplain view oftheprobation officer;
     11)     the defendant shall notify the probation officer within seventy-two hours ofbeing arrested orquestioned by a law enforcement officer;
     12)     the defendant shall not enter into any agreement to act asan informer ora special agent of a law enforcement agency without the
             permission ofthe court; and
     13)     asdirected by the probation officer, the defendant shall notify third parties ofrisks that may beoccasioned by the defendant's criminal
             record orpersonal history or characteristics and shall permit the probation officer to make such notifications and to confirm the
             defendanf^ compliance with such notification requirement.
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AO 24SB (Rev.02/16)Judgment in a Criminal Case
         Sheet 3C—Supervised Release
                                                                                              Judgment—Page          of

DEFENDANT: PERRIER D. COLEMAN
CASE NUMBER: 2:15-CR-240(7)

                                        SPECIAL CONDITIONS OF SUPERVISION
 1. Thedefendant shall participate in a program oftesting and treatment for aicohol and controiled substance abuse, as
 directed by the U.S. Probation Office, until such time as the defendant is reieased from the program by the probation
 office. The defendant wiil make a co-payment fortreatment services not to exceed $25 per month, which is determined by
 the defendant's ability to pay.

 2. The defendant shall participate in a vocational/job training program in an effort to obtain a vocational certificate and
 legitimate employment.
                  Case: 2:15-cr-00240-EAS Doc #: 179 Filed: 08/19/16 Page: 5 of 6 PAGEID #: 535
AO245B (Rev. 02/16} Judgment in a Criminal Case
            Sheet5—Criminal MonetaryPenalties
                                                                                                                Judgment— Page              of

 DEFENDANT: PERRIER D. COLEMAN
 CASE NUMBER: 2:15-CR-240(7)
                                                CRIMINAL MONETARY PENALTIES

       The defendant must pay the total criminal monetary penalties under the schedule ofpayments on Sheet 6.

                         Assessment                                              Fine                                  Restitution

 TOTALS              S   100.00



 •     The determination of restitution is deferred until                        An Amended Judgment in a Criminal Case(A0245C) will be entered
       after such determination.

 •     The defendant must make restitution (including community restitution) to thefollowing payees in theamount listed below.

       Ifthe defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otheiwlse jn
       the priority order orpercentage payment column oelow. However, pursuant to 18 U.S.C. § 3664(0, a'' nonfederal victims must be paid
       before the United States ispaid.
     Name of Payee                                                                    Total Loss*           Restitution Ordered      Prioritv or Percentage
                               . . •,   .i                                                                                                   - - - - - -




                                                                                                                                                           .n.   .




                               ^ .. !!n - ".          .T.-. '. i-JL-.i—-j..       I        ' .•        ' .A. I- . \        —



 TOTALS
                                                                    0.00               5                        0.00



 •      Restitution amount orderedpursuantto plea agreement $

 •      The defendant must pay interest onrestitution and a fine ofmore than $2,500, unless therestitution orfine ispaid infull before the
        fifteenth day after the date ofthe judgment, pursuant to 18 U.S.C. § 3612(f). All ofthe payment options on Sheet 6 may be subject
        to penalties fordelinquency anddefault, pursuant to 18U.S.C. § 3612(g).

 •      The court determined that the defendant does not have the ability to pay interestand it is orderedthat:
        •     theinterest requirement is waived forthe          •       fine      •     restitution.
        •     theinterest requirement forthe      •     fine        •         restitution is modified as follows:

 *Findings for the total amount oflosses are required under Chapters 109A,110,11OA, and 113AofTitle 18 for offenses committed on orafter
 September 13,1994,butbefore April 23, 1996.
                 Case: 2:15-cr-00240-EAS Doc #: 179 Filed: 08/19/16 Page: 6 of 6 PAGEID #: 536
AO 24SB (Rev.02/16) Judgment in aCriminal Case
        Sheet6—Seheduleof Payments
                                                                                                               Judgment — Page             of

 DEFENDANT: PERRIER D. COLEMAN
 CASE NUMBER: 2:15-CR-240(7)

                                                         SCHEDULE OF PAYMENTS

 Having assessed the defendant's ability topay, payment ofthe total criminal monetary penalties isdue as follows:
 A    0      Lump sum payment of $          100.00               due immediately, balance due

             •    not later than                                     .or

             •    in accordance         •     C,     •    D,    •     E,or      •   F below; or

 B    •      Payment tobegin immediately (may be combined with               • C,         • D, or       • Fbelow); or
 C     •     Payment in equal                        (e.g., weekly, monthly, quarterly) installments of $                            over a period of
                           (e.g., months or years), to commence                        (e.g., 30 or 60days) after the date of this judgment; or

 D    •      Payment in equal                       (e.g., weekly, monthly, quarterly) installments of $                        over a period of
                          (e.g., months or years), to commence                        (e.g., 30or 60days) after release from imprisonment  to a
             term of supervision; or

 E     •     Payment during the termof supervised release will commence within                              (e.g., 30 or 60rfays) after release from
             imprisonment. The court will set the payment plan based on an assessment ofthe defendant's ability topay atthat time; or
       •     Special instructions regarding thepayment of criminal monetary penalties:




 Unless the court has expressly ordered otherwise, ifthisjudgment imposes imprisonment, payment ofcriminal monetary penalties isdue during
 the period ofimprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons
 Inmate Financial Responsibili^ Program, are made to the clerk of the court.

 The defendant shall receive credit forall payments previously made toward any criminal monetary penalties imposed.



 •     Joint and Several

       Defendantand Co-Defendant Names and Case Numbers(including defendant number), Total Amount, Joint and Several Amount,
       and corresponding payee, if appropriate.




 •     The defendantshall pay the cost of prosecution.

 •     The defendant shall pay the followingcourt cost(s):

 0     The defendant shall forfeit the defendant's interest in the following property to the United States:
           PROPERTY AS DESCRIBED IN FORFEITURE A OF THE INDICTMENT



 Payments shall beapplied in the following order: (1)assessment, (2)restitution principal, (3)restitution interest, (4)fine principal,
 (5)fine interest, (6) community restitution, (7)penalties, and (8)costs, including cost ofprosecution and court costs.
